 Appeal from an order of the Surrogate’s Court, Onondaga County (Ava S. Raphael, S.), entered September 13, 2016. The order, among other things, granted the motion of petitioners for summary judgment dismissing respondent’s objections to probate. It is hereby ordered that said appeal is unanimously dismissed without costs (see Hughes v Nussbaumer, Clarke &amp; Velzy, 140 AD2d 988, 988 [4th Dept 1988]; Chase Manhattan Bank, N.A. v Roberts &amp; Roberts, 63 AD2d 566, 567 [1st Dept 1978]; see also CPLR 5501 [a] [1]). Present—Whalen, P.J., Centra, DeJoseph, NeMoyer and Winslow, JJ. 